         Case 1:22-cv-10904-JSR Document 125 Filed 04/24/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

        Plaintiff,
 v.                                             Case Number: 1:22-cv-10904-JSR

 JPMORGAN CHASE BANK, N.A.

        Defendant/Third-Party Plaintiff.


 JPMORGAN CHASE BANK, N.A.

        Third-Party Plaintiff,
 v.

 JAMES EDWARD STALEY

        Third-Party Defendant.


           THIRD-PARTY DEFENDANT JAMES STALEY’S NOTICE OF
         MOTION TO DISMISS JPMORGAN’S THIRD-PARTY COMPLAINT

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Third-Party Defendant

James Staley hereby respectfully requests that the Court dismiss all claims in the Third-Party

Complaint filed by Defendant JPMorgan Chase Bank, N.A. The reasons supporting Mr. Staley’s

motion are set forth in the corresponding Memorandum of Law.

       Complying with this Court’s minute order dated April 18, 2023, this response to

JPMorgan’s Complaint is filed by April 24, 2023. Pursuant to the same minute order, JPMorgan’s

response to this motion is due by May 8, 2023, Mr. Staley’s reply is due by May 15, 2023, and the

Court will hold a hearing at 3:00 p.m. on May 19, 2023, in Courtroom 14B.
        Case 1:22-cv-10904-JSR Document 125 Filed 04/24/23 Page 2 of 2




Date: April 24, 2023                   Respectfully submitted,


                                          /s/ Brendan V. Sullivan, Jr.
                                          Brendan V. Sullivan Jr.
                                          Zachary K. Warren
                                          Stephen L. Wohlgemuth
                                          WILLIAMS & CONNOLLY LLP
                                          680 Maine Avenue SW
                                          Washington, DC 20024
                                          Tel: (202) 434-5252
                                          Fax: (202) 434-5029
                                          zwarren@wc.com

                                          Counsel for Third-Party Defendant
                                          James Edward Staley




                                      2
